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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                             :
 LEROY PEOPLES ET AL.,
                                                             :                 Oct. 12,2021
                                     Plaintiffs,             :
                                                             :    1:11-cv-2694 (ALC)
                        -against-                            :
                                                             :    ORDER SETTING
                                                             :    PRE-MOTION CONFERENCE
 ANTHONY ANNUCCI ET AL.,
                                                             :
                                     Defendants.             :
 ---------------------------------------------------------   x

ANDREW L. CARTER, JR., United States District Judge:

         The Court will hold the pre-motion conference concerning Plaintiffs’ anticipated motion

under Rule 60(b)(6) of the Federal Rules of Civil Procedure on Monday, November 15, 2021 at

11:30AM. All parties shall appear and should contact the Court at 1-888-363-4749 (access code:

3768660).

SO ORDERED.

Dated:      October 12, 2021
            New York, New York

                                                                 ANDREW L. CARTER, JR.
                                                                 United States District Judge
